Case 2:05-cr-80955-DML-RSW ECF No. 1670 filed 06/18/20       PageID.10616      Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

        Plaintiff,
                                                               Case No. 05-cr-80955
  v.
                                                             Hon. David M. Lawson
  DEMETRIUS FLENORY,

        Defendant.



   Dawn N. Ison (P43111)                      Wade G. Fink (P78751)
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                                              Attorney for Demetrius Flenory


                     NOTICE OF SUPPLEMENTAL AUTHORITY

        On May 18, 2020, Defendant Demetrius Flenory (“Flenory”) filed his second

  motion for compassionate release. Because of the rapidly evolving data and extreme

  ease of transmission of COVID-19, information regarding the virus change daily.

  On June 11, 2020, Flenory submitted a notice of supplemental authority explaining

  that Oregon, where Flenory is currently serving his sentence, had announced the

  highest one day total of COVID-19 since the outbreak of the pandemic. ECF No.

  1669, PageID.10612. Since that filing a week ago, Oregon has now broken its record

                                          1
Case 2:05-cr-80955-DML-RSW ECF No. 1670 filed 06/18/20        PageID.10617    Page 2 of 4




  one day highs for confirmed cases twice.1 This is concerning in light of

  epidemiologist Katie Brasher-Beaudry’s testimony that “if one [FCI Sheridan] staff

  member is infected and brings the virus into the prison, he or she will infect 2 to 3

  more people.” ECF No.1637-4, PageID.9771. The state is open for business.

        The governor of Oregon has taken action because of the potential effects of

  the virus on the state’s prison population. In fact, the Oregon State Penitentiary in

  Salem, Oregon, which is only 30 miles away from Flenory and FCI Sheridan, has

  the biggest outbreak of COVID-19 in the state.2 Governor Kate Brown directed the

  Oregon Department of Corrections (“DOC”) to review inmates for possible release.

  If the DOC determines that an inmate meets the set criteria, they “will have the

  remainder of their term of incarcerated commuted, pursuant to [Brown’s] authority

  as governor.”3 The criteria includes: being particularly vulnerable to COVID-19; not



        1  278 New Cases of Coronavirus in Oregon on Tuesday, a Record High,
  https://www.oregonlive.com/coronavirus/2020/06/coronavirus-in-oregon-oregon-
  again-sets-a-record-with-184-new-cases.html (“The recent surge in cases in Oregon
  over the past 10 days, however, is alarming, officials acknowledge. ‘We do
  continue to feel concerned that Oregon numbers relative to where we were a few
  weeks ago are not moving in the right direction,’ said Dr. Thomas Jeanne, deputy
  state epidemiologist”).

        2 Oregon Gov. Kate Brown Will Release Inmates to Limit Coronavirus Threat
  in       State       Prisons;         About    100         Meet        Criteria,
  https://www.oregonlive.com/coronavirus/2020/06/gov-kate-brown-will-release-
  inmates-to-limit-coronavirus-threat.html
        3  Gov. Kate Brown Directs Oregon Prisons to Perform “Case-by-Case
  Analysis” of Inmates Whose Sentences Could be Commuted During Pandemic,

                                            2
Case 2:05-cr-80955-DML-RSW ECF No. 1670 filed 06/18/20          PageID.10618     Page 3 of 4




  serving a sentence for a crime of the person; have served at least 50% of one’s

  sentence; have a record of good conduct for the last 12 months; have a suitable

  housing plan; have their out-of-custody health care needs assessed and adequately

  addressed; and not present an unacceptable safety, security, or compliance risk to

  the community. Id.

        There will be a case, if there is not already, in FCI Sheridan, and the virus will

  choose a person, or persons, at random.

  Date: June 18, 2020                            Respectfully Submitted,

                                                 WADE FINK LAW P.C.

                                                 /s/ Wade G. Fink
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  https://www.wweek.com/news/state/2020/06/12/gov-kate-brown-directs-oregon-
  prisons-to-perform-case-by-case-analysis-of-inmates-whose-sentences-could-be-
  commuted-during-pandemic/.

                                             3
Case 2:05-cr-80955-DML-RSW ECF No. 1670 filed 06/18/20       PageID.10619   Page 4 of 4




                              PROOF OF SERVICE

                 I hereby certify that on June 18, 2020, I electronically
                 filed the foregoing paper with the Clerk of the Court
                 using the ECF system which will send notification of
                 such filing to counsel of record.

                                  /s/ Wade G. Fink
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                                          4
